
Chancellor Taylor refused, but the President of the Court of Appeals
(JUDGES ROANE, BROOKE, and CABEBB concurring, JUDGE COABTER being absent,)
granted the Injunction.
The cause was heard on the Bill, Answer, Exhibits and Examinations of Witnesses, by which the allegations in the Bill in relation to the partial mental derangement of the complainant, were amply supported; it appearing that, on the subject, to which the defamatory words related, he was insane, though his mind was sound in other respects. It appeared, also, in evidence, that Marshall refused to release the Judgments to Horner; determining to hold them as a security for his future good behaviour; though he repeatedly expressed an intention not to demand the money, and that his children never should receive it; and, sometime after the Judgments were obtained, "Horner and Marshall were publicly reconciled, and shook hands as a token of renewing their former friendship.
Chancellor Taylor dismissed the Bill with costs, from which Decree the complainant appealed.
The case was submitted here without argument; and, on the 7th of March, 1817, the Court reversed the Decree with costs, and, proceeding to make such Decree, as the Chancellor should have rendered, directed the Injunction to be re-instated and made perpetual; but, on the circumstances of the case, that the Appellant pay the costs in the Court of Chancery.
